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Injoi CBD

20050 Vanowen Street Suite H

Winnetka, CA 91306

818.835.9353

Dear Willie,

We are pleased that you are considering joining us to help build a world-class CBD company. This
pre-employment letter is not to be construed as a contract for employment for an indefinite, or definite,

period of time.

It is our pleasure to confirm your offer of employment as a salesperson here at the CBD store. For this
position, you will report directly to Jillean Watson.

Start Date: TBD. Position Title: Sales Associate: $15.00 per hour
We are happy to hire you during your transition back into the community!

| sincerely believe you can add tremendous value to the Injoi CBD team. | look forward to working with
you and seeing you grow with the brand.

Sincerely,

 

Jillean Watson, Partner Development

 

Recipient Name Date
